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 1
                           UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
 4    UNITED STATES OF AMERICA,                                   21-cr-02667-GPC
                                                        Case No. _________________
 5                                 Plaintiff,
                                                        INFORMATION
 6
            v.
 7                                                      18 U.S.C. § 545
                                                        Smuggling Goods Into the United States
 8    JAIME GOMEZ GONZALEZ,                             (Felony)
 9                                Defendant.
10
11
12 The United States Attorney charges:
13
14                                          COUNT 1
15        On or about August 17, 2021, within the Southern District of California,
16
     defendant JAIME GOMEZ GONZALEZ did knowingly and willfully, with the intent
17
18 to defraud the United States, attempt to smuggle and clandestinely introduce into the
19 United States, merchandise, which should have been invoiced, to wit: Mexican
20
   pesticides, that is, seventeen 1-liter bottles of “Taktic,” in violation of Title 18, United
21
22 States Code, Section 545.
23 DATED: Sept. 13, 2021                        RANDY S. GROSSMAN
24                                              Acting United States Attorney
25                                              ___________________________
26                                              MELANIE K. PIERSON
                                                Assistant U. S. Attorney
27
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